Case 1:21-cv-00348-SEB-DML Document 21 Filed 06/24/22 Page 1 of 2 PageID #: 1611




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 STARLA D. ROWLEY,                          )
                                            )
                            Plaintiff,      )
                                            )
                        v.                  )                 No. 1:21-cv-00348-SEB-DML
                                            )
 KILOLO KIJAKAZI Acting Commissioner of the )
 Social Security Administration,            )
                                            )
                            Defendant.      )


                 ORDER ADOPTING REPORT AND RECOMMENDATION

        The Magistrate Judge submitted her Report and Recommendation on Plaintiff’s

 Complaint for Judicial Review. The parties were afforded due opportunity pursuant to statute and

 the rules of this Court to file objections; none were filed. The Court, having considered the

 Magistrate Judge’s Report and Recommendation, hereby adopts the Magistrate Judge’s Report

 and Recommendation.



        Date: _________________
                  6/24/2022                        _______________________________
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana




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Case 1:21-cv-00348-SEB-DML Document 21 Filed 06/24/22 Page 2 of 2 PageID #: 1612




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